                            Case 2:10-cr-00009-KJM Document 19 Filed 01/29/10 Page 1 of 3


                        1 J. TONY SERRA, SBN 32639
                          506 Broadway
                        2 San Francisco CA 94133
                          Tel: 415/986-5591
                        3 Fax: 415/421-1331

                        4   Attorney for Defendant
                            FRANCISCO GARIN
                        5

                        6

                        7

                        8                       UNITED STATES DISTRICT COURT
                        9                      EASTERN DISTRICT OF CALIFORNIA
                       10

                       11   UNITED STATES OF AMERICA,
                       12              Plaintiff,                CR 10-00009 FCD
                       13        v.                              STIPULATION AND ORDER TO
                                                                 CONTINUE STATUS HEARING
                       14   ANTONIO GUERRERO and
                            FRANCISCO GARIN,
                       15
                                       Defendants.
                       16                                /
                       17        At the request of the parties, the Court enters this order
                       18   (1) continuing the hearing presently set for February 1, 2010 at
                       19   10:00 a.m., to March 29, 2010, at 10:00 a.m., for status
                       20   conference; and (2) excluding time under the Speedy Trial Act,
                       21   based on the following:
                       22        1.    At the time of the last appearance there were various
                       23   items of discovery outstanding. Counsel for Mr. Garin sent an
                       24   informal discovery request on January 11, 2010. However, to
                       25   date, these items of discovery have not been received.
                       26        2.    This is a very serious case, and the discovery
                       27   outstanding is imperative. Counsel has spoken with the
PIER 5 LAW OFFICES
   506 BROADWAY
  SAN FRANCISCO        28   prosecution, and expects that additional items of discovery will
    (415) 986-5591
 FAX: (415) 421-1331

                                                                1
                            Case 2:10-cr-00009-KJM Document 19 Filed 01/29/10 Page 2 of 3


                        1   be forthcoming before the next court date.
                        2          3.   Counsel for Mr. Garin has contacted all involved
                        3   parties, and has determined that all parties are generally in
                        4   agreement that this matter should be continued, for further
                        5   status, so that the necessary items of discovery may be turned
                        6   over to the defense.
                        7          4.   Accordingly, the parties mutually request that the
                        8   February 1, 2010, date be vacated and that the matter be
                        9   continued to March 29, 2010 at 10:00 a.m. for further status.
                       10          5.   The parties stipulate that the time is excludable from
                       11   the time limitations of the Speedy Trial Act because the
                       12   interests of justice are served by granting a continuance.      This
                       13   continuance, requested by the parties, will permit continuity of
                       14   counsel, and allow the reasonable time necessary for effective
                       15   preparation, taking into account the exercise of due diligence.
                       16   18 U.S.C. sections 3161(h)(8)(A) and (B)(iv).
                       17   ////
                       18

                       19

                       20

                       21

                       22

                       23

                       24

                       25

                       26

                       27
PIER 5 LAW OFFICES
   506 BROADWAY
  SAN FRANCISCO        28
    (415) 986-5591
 FAX: (415) 421-1331

                                                                2
                            Case 2:10-cr-00009-KJM Document 19 Filed 01/29/10 Page 3 of 3


                        1        THE PARTIES THEREFORE STIPULATE that the hearing for change
                        2   of plea be continued from February 1, 2010 to March 29, 2010,
                        3   with time continuing to be excluded as specified above, such
                        4   that the ends of justice served by granting such a continuance
                        5   outweigh the best interests of the public and the defendant in a
                        6   speedy trial.
                        7        Dated: January 29, 2010
                        8  /s/ J. TONY SERRA
                          J. TONY SERRA
                        9 Attorney for FRANCISCO GARIN

                       10  /s/ NEDRA RUIZ
                          NEDRA RUIZ
                       11 Attorney for ANTONIO GUERRERO

                       12  /s/ PAUL ANDREW HEMESATH
                          PAUL ANDREW HEMESATH
                       13 Assistant U.S. Attorney

                       14                                     ORDER
                       15        Good cause appearing, and based upon the stipulation of the
                       16   parties,
                       17        IT IS HEREBY ORDERED that the hearing in this matter is
                       18   continued to March 29, 2010, at the hour of 10:00 a.m. and that
                       19   time is excluded as stipulated.
                       20   Dated: January 29, 2010
                       21

                       22                                      _______________________________________
                                                               FRANK C. DAMRELL, JR.
                       23                                      UNITED STATES DISTRICT JUDGE

                       24

                       25

                       26

                       27
PIER 5 LAW OFFICES
   506 BROADWAY
  SAN FRANCISCO        28
    (415) 986-5591
 FAX: (415) 421-1331

                                                                3
